      USCA Case #22-5058          Document #2015648               Filed: 09/05/2023      Page 1 of 3
UNITED STATES COURT OF APP^»Preme Court of the United States
FOR DISTRICT OF COLUMBIA CIRCUIT Office of the Clerk
                              Washington, DC 20543-0001
      SEP - 5 2023                                                              Scott S. Harris
                                                                                Clerk of the Court

 RECEIVED                                 September 1, 2023
                                                                                (202) 479-3011




        Clerk
        United States Court of Appeals for the District
        of Columbia Circuit
        333 Constitution Avenue, NW
        Washington, DC 20001


               Re: Thomas Massie, Individually and in His Official Capacity, et al.
                   V. Nancy Pelosi, in Her Official Capacity, et al.
                   Application No. 23A190
                   (Your No. 22-5058)


        Dear Clerk:

               The application for an extension of time within which to file a petition
        for a writ of certiorari in the above-entitled case has been presented to The
        Chief Justice, who on September 1, 2023, extended the time to and including
        November 21, 2023.

               This letter has been sent to those designated on the attached
        notification list.



                                                     Sincerely,

                                                     Scotty. Harris, Clerk



                                                     Lisa Nesbitt
                                                     Case Analyst
USCA Case #22-5058      Document #2015648          Filed: 09/05/2023      Page 2 of 3



               Supreme Court of the United States
                      Office of the Clerk
                  Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                             NOTIFICATION LIST


  Mr. Thomas B. Bruns
  Bruns, Connell, Vollmar & Armstrong, LLC
  4750 Ashwood Drive, Suite 200
  Cincinnati, OH 45241


  Clerk
  United States Court of Appeals for the District of Columbia Circuit
  333 Constitution Avenue, NW
  Washington, DC 20001
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